     Case 2:12-cv-00410 Document 100 Filed on 08/18/21 in TXSD Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                        CORPUS CHRISTI DIVISION

JOHN HENRY RAMIREZ,                           *
                                                     Civil Action No. 2:12-CV-410
                   Petitioner,                *
                                                     The Honorable Judge
       v.                                     *      Nelva Gonzalez Ramos

BOBBY LUMPKIN, Director,                      *
    Texas Department of Corrections,
    Correctional Institutions Division,       *

                   Respondent.                *

                           CAPITAL CASE
                      PENDING EXECUTION DATE:
                           September 8, 2021

                                    ADVISORY

      COMES NOW, Seth Kretzer, appointed counsel for John Henry Ramirez, and

files this advisory concerning a Motion to Stay Execution filed in the parallel section

1983 suit transferred to Judge Hittner.

      By way of background, in August 2020, Ramirez filed a “spiritual advisor”

claim under section 1983. It was later non-suited by agreement with the Attorney

General’s Office to withdraw Ramirez’s execution date, then set for September

2020. On August 10, 2021, a new section 1983 suit was filed and transferred by

order of this Court to the Houston Division where it was assigned to Judge Hittner.
     Case 2:12-cv-00410 Document 100 Filed on 08/18/21 in TXSD Page 2 of 3



      On August 17, Judge Hittner entered an order concerning the timing of any

Motion to Stay:




      Also on August 17, the undersigned filed a motion to clarify whether the term

“any motion for a stay of execution” pertained only to the section 1983 case or

included the habeas matter pending in this Court. A second order issued on August

17, clarifying that the above-quoted portion of the order was confined to the 1983

case pending in that court.

      On August 18, the undersigned filed a Motion to Stay execution. A copy is

attached as an exhibit to this advisory.

      Also on August 18, an advisory was filed in the section 1983 case. A copy of

that advisory is attached as an exhibit to this advisory.

                                            2
     Case 2:12-cv-00410 Document 100 Filed on 08/18/21 in TXSD Page 3 of 3



      If the motion to stay is denied, Counsel will appeal to the Fifth Circuit Court

of Appeals, and, if necessary, to the Supreme Court. Counsel does not plan to file

any additional claims or habeas actions before the scheduled execution. Counsel

does not anticipate any third parties will intervene.

                                                Respectfully submitted this 18 day of
                                                August 2021,

                                                        /s/ Seth Kretzer
                                                        _________________________
                                                        Seth Kretzer
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                                                        9119 South Gessner
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                                                        Houston, TX 77074
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                                                        Fax: 713 929 2019

                           CERTIFICATE OF SERVICE

       I certify that I have served the foregoing document via the Court’s CM/ECF system
 on Counsel for Respondent on this the 18th day of August 2021.

                                         /s/ Seth Kretzer
                                        Seth Kretzer




                                            3
